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David Lazarus

From:                                 David Lazarus
Sent:                                 Tuesday, September 13, 2022 5:22 PM                    EXHIBIT
To:                                   Keen, Justin (USAFLN)
Cc:
Subject:
                                      'Nicole Waid'
                                      P&S Doc
                                                                                                     1
Attachments:                          Exhibit A.1 Asset list for Asset Sale on 061922.xlsx


Justin –

See attached. It is my understanding that this is the only attachment or exhibit to the agreement notwithstanding the
mentions in the document.

Dave



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            AIRCRAFT       AIRCRAFT     AIRCRAFT   AIRCRAFT    AIRCRAFT   OWNER OF RECORD
Airship #   SERIAL NO.   REGISTRATION   MODEL      MAN. DATE   LOCATION   (per FAA Registry)


   1        004            N460LG        A-60+     4/1/1991      TN       AirSign Airships America, LLC
   2        006            N660LG        A-60+     4/1/1993      TN       AirSign Airships America, LLC
   3        010          VH-JRW (AUS)    A-60+     2/1/1995      TN       AirSign Airships America, LLC
   4        011             N11ZP        A-60+     9/5/1995       FL      Lightship Group
   5        012            N612LG        A-60+     2/1/1996      TN       AirSign Airships America, LLC
   6        014            N614LG        A-60R     4/1/1997      TN       AirSign Airships America, LLC
   7        016            N116VW        A-60+     4/21/1998     TN       AirSign Airships Asia Pacific, LLC
   8        018            N618LG        A-60R     6/23/2000     TN       AirSign Airships America, LLC
   9        020            N620LG        A-60R     4/15/2002     TN       AirSign Airships America, LLC
   10       101            N151AB       A-170LS    1/8/1997      TN       AirSign Airships America, LLC
   11       102            N102MS        A-150     12/1/1997     TN       AirSign Airships Latin America, LLC
   12       104            N154ZP        A-170     2/1/1999      TN       AirSign Airships America, LLC
   13       105            N105VW        A-170     4/1/1999      TN       AirSign Airships Asia Pacific, LLC
   14       106            N156LG       A-170LS    2/1/2000      TN       AirSign Airships America, LLC
   15       107            N157LG       A-170G     6/1/2005      FL       AirSign-MZ3A LLC
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Airship      Envelope      Ballonet Decal Total Days in Years                                                   COMMENTS
 Serial        Serial      Film or Applied Service as   Total
Number        Number        Fabric         Aug 1, 2019 Time
 SN006                                                   0.0
 SN010        ESN031        Fabric   Yes      740.0      2.0                        AOL Decal Applied October 2014 - deflated with artwork still applied.
 SN012        ESN028         None    Yes     1157.0      3.2                         Deflated July 7, 2015 - requires cleaning and ballonet replacement
 SN014                                                                                             Likely to install ESN026 - listed below.
 SN015        ESN027        Fabric      Yes           1996.0   5.5                                 Cleaned - currently in Moffet hangar
 SN016                                                         0.0
 SN018        ESN030        Fabric      Yes           2246.0   6.2                                 Currently has CCL artwork applied
 SN020        ESN029        Fabric      Yes           1595.0   4.4             MetLife decal appplied April 2015 - in field deflation with artwork applied Japan

 SN101
 SN102      ESN110-50        Film       No            824.0    2.3              At MQY requires ILC checkout following previous repairs. Requires ballonet.
 SN104
 SN105
 SN106
 SN107      ESN005-70       Fabric      Yes           1070.0   2.9                          Envelope cleaning for installation of Mullen vynil

  Other
               ESN026        Fabric     Yes           2032.0   5.6                        Metlife decal changed 2016 - deflated artwork still applied.
             ESN002-70                   No           2160.0   5.9          Removed from SN101 - hoop section removed and sent to ABC / remaining scrapped
             ESN004-70        Film       No           725.0    2.0                    Possible repair TBD - likely to be used as spare - VERY limited life.
             ESN006-70                   No            0.0                            Currently production on hold at ILC Dover - can fab ball be installed
               ESN023         Film       No           2892.0   7.9            Deflated March 26, 2015 - can go to ILC Dover for repair, gore & ball replacement
Bold = indicates inflated airship.                                   Def date    Inf date      Total days Deliveries:
Material:                                                              09/22/17      09/30/17          7.00
Ballonet fabric = enough for (1) A60 and (1) A-1-70
Ballonet:
(0) A60 spare ballonet
(0) A-1 spare ballonet
Envelope Repairs:
None scheduled
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Number   Item                                      Location        Notes
E01      Airships Parts inventory                  Smyrna, Tn      Used or New inventory (not in quality control)
E02      Airships Parts Inventory                  Williston, FL   Mostly New inventory (semi quality control)
E03      A-170 new airship Gondola                 Williston, FL   80% completed
E04      A-60 gondola frame                        Williston, FL   new condition
E05      4 Airship mast assemblys                  Williston, FL   good condition
         Trailers                                  Location        Notes
E06      2000 Hallmark                             Smyrna, Tn      *All trailers are in rough condition and recommend replacment
E07      1997 Pace                                 Smyrna, Tn
E08      1998 Pace                                 Smyrna, Tn
E09      1998 Pace                                 Smyrna, Tn
E10      2007 Mobile Mast Trailer                  Smyrna, Tn
E11      2001 Pace Gooseneck                       Smyrna, Tn
E13      2008 Mobile Mast Trailer                  Smyrna, Tn
E18      1996 Pace Trailer                         Smyrna, Tn
E19      2001 Pace Trailer                         Smyrna, Tn
E20      2001 Pace Trailer                         Smyrna, Tn
         Other Equipment                           Location        Notes
E30      Heavy Duty Inside ForkLift                Smyrna, Tn      Good Working Condition
E31      40' Manned Lift                           Smyrna, Tn      Fair Working Condition
E32      60' Manned Lift                           Smyrna, Tn      Fair Working Condition
E33      US20130299635A1 Airship handling device                   Ground Handling device used with Skid steer
E34      US2013009006A1 Airship handling device                    Ground Handling device used with Skid steer
E35      Misc Tools at Hanger                      Smyrna, Tn      Tools onsite at Smyrna Hanger
E36      American Blimp Company Jigs               Williston, FL
         Office Equipment                          Location        Notes
E37      Misc desks & Tables                       Smyrna, Tn
E38      Misc Office chairs and furnature          Smyrna, Tn      bookshelves etc…
E39      Copy machine (Need Details)               Smyrna, Tn      Fair Working Condition
E40      Copy machine (Need Details)               Smyrna, Tn
E41      Copy machine                              Oregon          Chris Wegner has possession
E42
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Number   Item                                                  Location                 Notes
IP01     Airships Main Military grade server with all data     Williston, FL            Will provide admin access and control
IP02     Digital file of all American Blimp Company drawings   Will provide file link   On Airships Server
IP03     Website: Airshipsadvertising.com & Airships.com
IP04     Website: Blimpadvertising.com
Number   Certificates                                          Location
IP05     FAA Part 145 Repair Station Certificate               FAA Database             Will provide copy and will need renewed
IP06     FAA Part 135 Air Operators Certificate                FAA Database             Will provide copy and will need renewed
IP07     FAA Production Certificate (Not Updated/ Active)      FAA Database             Will provide copy and will need renewed
IP08     FAA Type Certificate A-150                            FAA Database             Will provide copy (Owned by ABC)
IP09     FAA Type Certificate A-170G                           FAA Database             Will provide copy (Owned by ABC)
IP10     FAA Type Certificate A-170                            FAA Database             Will provide copy (Owned by ABC)
IP11     FAA Type Certificate A-60R                            FAA Database             Will provide copy (Owned by ABC)
IP12     FAA Type Certificate A-60+                            FAA Database             Will provide copy (Owned by ABC)
IP13     FAA Type Certificate A-60                             FAA Database             Will provide copy (Owned by ABC)
IP14     FAA Type Certificate GA-42                            FAA Database             Will provide copy (Owned by ABC)
IP15     Validated TC China                                    FAA Database             Will provide copy (Owned by ABC)
IP16     Validated TC Japan                                    FAA Database             Will provide copy (Owned by ABC)
IP17     Validated TC Brazil                                   FAA Database             Will provide copy (Owned by ABC)
IP18     Validated TC EASA                                     FAA Database             Will provide copy (Owned by ABC)
IP19                                                           FAA Database
IP20                                                           FAA Database
IP21                                                           FAA Database
Number   Patents                                               Location
IP22     US20130299635A1 Airship handling device               US Patent Office
IP23     US2013009006A1 Airship handling device                US Patent Office
IP24     US8081141B2 Digital LightSign                         US Patent Office
Number   Patents                                               Location
IP25     US Army Contract W56KGY20C0004                        Williston, FL            Owed by American Airship Company Inc
IP26
IP27
